                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA,         )
                                   )
                Plaintiff,         )
                                   )
 v.                                )                         No. 3:09-CR-64
                                   )
 ESTHER ELIZABETH McCALEBB-PIPPENS,)                         (PHILLIPS/GUYTON)
                                   )
                Defendant.         )


                            REPORT AND RECOMMENDATION

                Counsel for Defendant Esther Elizabeth McCalebb-Pippens, who has been appointed

 pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A, has moved by way of her Motion to

 Classify Case as Complex for Interim Payment as to Defendant Esther Elizabeth McCalebb-Pippens

 [Doc. 161], for a waiver of the case compensation maximum limit and for interim payment of

 attorney compensation. The Criminal Justice Act and the Guide to Judiciary Policy provides for a

 maximum compensation limit of $9,700 for each attorney in a non-capital case charging one or more

 felonies. 18 U.S.C. § 3006A(d)(2) (providing that the case compensation maximums shall increase

 “simultaneously” with changes in the hourly rate); 7 Guide to Judiciary Policy, Chapter 2-

 Appointment and Payment of Counsel, §§ 230.23.10(h), 230.23.20(a) (hereinafter Guide). Payment

 in excess of the $9,700 limit may be allowed if the court certifies that the amount of the excess

 payment is necessary to provide fair compensation and the payment is approved by the chief judge

 of the circuit or her designee. 18 U.S.C. § 3006A(d)(3).

                In the present case, counsel requests that the case be declared extended and complex

 due to the number of Defendants involved, the fact that the crimes occurred in two or more states,




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 and the need to research Michigan law and the inventory policies of the Michigan State Police with

 regard to Defendant’s suppression motion. Counsel asserts that the time necessary for preparation

 of the suppression motion and of the case as a whole has been abnormally lengthy due to these

 factors. Accordingly, counsel argues that the case qualifies as complex and that interim payments

 are warranted. Although the Government has not responded to the instant motion, it did not oppose

 [Doc. 167] Codefendant Ronald Thompson-Bey’s identical request that the case be deemed extended

 and complex for purposes of attorney compensation.

                The following regulation is pertinent to the question of whether or not the $9,700

 maximum on compensation should be waived:

                (a) Overview

                       Payments in excess of CJA compensation maximums
                       may be made to provide fair compensation in cases
                       involving extended or complex representation when
                       so certified by the court or U.S. magistrate judge and
                       approved by the chief judge of the circuit (or by an
                       active or senior circuit judge to whom excess
                       compensation approval authority has been delegated).

                (b) Extended or Complex Cases

                       The approving judicial officer should first make a
                       threshold determination as to whether the case is
                       either extended or complex.

                       -If the legal or factual issues in a case are unusual,
                       thus requiring the expenditure of more time, skill, and
                       effort by the lawyer than would normally be required
                       in an average case, the case is “complex.”

                       -If more time is reasonably required for total
                       processing than the average case, including pre-trial
                       and post-trial hearings, the case is “extended.”

                (c) Determining Fair Compensation

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                        After establishing that a case is extended or complex,
                        the approving judicial officer should determine if
                        excess payment is necessary to provide fair
                        compensation. The following criteria, among others,
                        may be useful in this regard:

                        -responsibilities involved measured by the magnitude
                        and importance of the case;

                        -manner in which duties were performed;

                        -knowledge, skill, efficiency, professionalism, and
                        judgment required of and used by counsel;

                        -nature of counsel’s practice and injury thereto;

                        -any extraordinary pressure of time or other factors
                        under which services were rendered; and

                        -any other circumstances relevant and material to a

                        determination of a fair and reasonable fee.

 7 Guide, Chapter 2, § 230.23.40. “Case compensation limits apply only to attorney fees.” 7 Guide,

 Chapter 2, § 230.23.10(d). There is no limit on the presiding judge’s authority to reimburse

 counsel’s expenses except as to compensation for investigators and other experts. 18 U.S.C. §

 3006A(e); 7 Guide, Chapter 2, §§ 230.23.10(d), 230.63.10.

                In this case, Defendant McCalebb-Pippins was charged [Doc. 78] with conspiring

 with ten named codefendants to distribute and to possess with intent to distribute one hundred grams

 or more of heroin from October 2008 to May 15, 2009. At this point, all of the Defendants in this

 case have entered guilty pleas. Although Defendant McCalebb-Pipins has likewise entered a change

 of plea, she did not do so until August 23, 2010, following the litigation of her and Codefendant

 Thompson-Bey’s related suppression motions. The events underlying this case took place in the

 Eastern District of Tennessee and Detroit, Michigan. The traffic stop which led to the discovery of

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 the controlled substances that the Defendant sought to suppress occurred outside of Detroit,

 Michigan. On March 23, 2010, Defendant McCaleb-Pippens requested leave to file a suppression

 motion [Doc. 212-1] out of time. The Court permitted the motion [Doc. 217] and held a hearing on

 it on April 23, 2010. The undersigned issued a Report and Recommendation [Doc. 245] on May 24,

 2010, recommending that the suppression motion be denied. The District Court accepted [Doc. 253]

 the Report and Recommendation on July 23, 2010.

                This Court has declared [Doc. 182] the case to be “complex” for purposes of the

 Speedy Trial Act based upon the number of defendants involved in this case, the nature of the

 prosecution including the allegations that the underlying events occurred in multiple districts, and

 the existence of novel questions of law. 18 U.S.C. § 3161(h)(7)(B)(ii). Additionally, the Court has

 already found [Doc. 196] this case to be extended and complex for purposes of attorney

 compensation with regard to Codefendant Thompson-Bey. With regard to Defendant McCalebb-

 Pippens, the Court finds that the preparation and litigation of the suppression motion required “more

 time, skill, and effort” on the part of defense counsel than typically required in the average case,

 rendering the case “complex.” See 7 Guide, Chapter 2, §230.23.40(b). Moreover, this case has

 reasonably required more time for pretrial proceedings than the typical case, making it “extended.”

 See id.

                Because of the number of Defendants, the nature of the charges asserted in the

 indictment, and the extensive nature of the pretrial litigation in this case, it is the opinion of the

 undersigned that this case meets the definition of being both “complex” and “extended” as set out

 above and that excess payment may well be necessary to provide fair compensation to counsel. See

 7 Guide, Chapter 2, § 230.23.40(c). Of course, each voucher will be scrutinized by the Court and



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 a determination will be made as to whether a fair and reasonable fee is claimed. The Defendant is

 presently set to be sentenced on December 13, 2010. It is also the Court’s opinion that it is

 necessary and appropriate to approve interim payments to counsel for fees and out-of-pocket

 expenses. See 7 Guide, Chapter 2,§ 230.73.10.

                For the reasons indicated, it is RECOMMENDED that the District Court sign and

 forward the attached “Memorandum and Order Concerning Excess and Interim Payments” to the

 chief judge of the circuit or her designee. This procedure is approved in Chapter 2 and Appendix

 2C to the Guide to Judiciary Policy. If the chief judge or her designee approves the request, the

 regulations provide that the Court should then take the following steps:

                (1) The Memorandum and Order Concerning Excess and Interim
                Payments should be filed with the clerk; and

                (2) A copy of that document should also be sent to the CJA claims
                coordinator at the Criminal Justice Act Claims Section, Financial
                Management Division, Administrative Office, United States Courts.

 Also, counsel seeking excess and interim payments should take the following steps:

                (1) Form CJA 20 should be submitted with full documentation of all
                expenses claimed on the voucher;

                (2) A number should be assigned to each voucher processed for
                payment;

                (3) Item 19 of Form CJA 20 must be completed to indicate the time
                period covered by the voucher and whether it is for the final payment
                or for an interim payment; and

                (4) The final voucher should:

                       (a) set forth in detail the time and expenses claimed
                       for the entire case;

                       (b) reflect all compensation and reimbursement
                       previously received;

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                        (c) show the net amount remaining to be paid; and

                        (d) be approved by the chief judge of the circuit or her

                        designee if the total claim for the case is in excess of

                        the statutory limits.

 7 Guide, Part A-Guidelines for Administering the CJA and Related Statutes, Appendix 2C.

                                           CONCLUSION

                For the reasons indicated, it is RECOMMENDED that the Motion to Classify Case

 as Complex and for Interim Payment as to Defendant Esther Elizabeth McCalebb-Pippins [Doc. 260]

 be granted pursuant to the procedures in the Guide to Judiciary Policy and as set out above.1

                IT IS SO ORDERED.

                                                Respectfully submitted,


                                                     s/ H. Bruce Guyton
                                                United States Magistrate Judge




        1
          Any objections to this report and recommendation must be served and filed within fourteen
 (14) days after service of a copy of this recommended disposition on the objecting party. Fed. R.
 Crim. P. 59(b)(2) (as amended). Failure to file objections within the time specified waives the right
 to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United States v. Branch, 537 F.3d
 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155 (1985) (providing that failure
 to file objections in compliance with the required time period waives the right to appeal the District
 Court’s order). The District Court need not provide de novo review where objections to this report
 and recommendation are frivolous, conclusive, or general. Mira v. Marshall, 806 F.2d 636, 637 (6th
 Cir. 1986). Only specific objections are reserved for appellate review. Smith v. Detroit Federation
 of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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